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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 WESTERN DIVISION

United States of America,                         )
                                                  )
               Plaintiff,                         )
                                                  )    Case No. 19-cr-50047-6
       v.                                         )
                                                  )    Magistrate Judge Lisa A. Jensen
Shaunte Gibbs,                                    )
                                                  )
               Defendant.                         )

                                              ORDER


REPORT AND RECOMMENDATION as to Shaunte Gibbs (6): The Government has informed
the Court that, despite Defendant Shaunte Gibbs’ noncompliance with her pretrial diversion
agreement, they do not believe that a sentence of imprisonment would be the best course of
action for the reasons stated during the hearing held on 10/22/2021. The Court finds the
Government’s reasoning to be sufficient to dismiss the indictment against Defendant Shaunte
Gibbs, it is not indicative of bad faith, nor contrary to the public interest. See U.S. v. Martin, 287
F.3d 609, 623 (7th Cir. 2002). Additionally, the Government has confirmed that the victims in
this case have been notified of the motion to dismiss and that they concur with the motion. See
18 U.S.C. § 3771. Therefore, it is this Court’s Report and Recommendation that the
Government’s oral motion to dismiss all counts of the indictment against Defendant Shaunte
Gibbs be granted and that the indictment therefore be dismissed only as to Defendant Shaunte
Gibbs. See Fed. R. Crim. P. 48(a). Any objection to this Report and Recommendation shall be
filed by 11/12/2021. Failure to object may constitute a waiver of objections on appeal. See
Provident Bank v. Manor Steel Corp., 882 F.2d 258, 260 (7th Cir. 1989). Signed by the
Honorable Lisa A. Jensen on 10/29/2021.




Date: 10/29/2021                                       By: ______________________
                                                              Lisa A. Jensen



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                                               United States Magistrate Judge




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